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               UNITED STATES DISTRICT COURT
      F O R T H E E A S T E R N D I S T R I C T O F P E N N S Y L VA N I A
                     PHILADELPHIA DIVISION


 Devault Group Inc.,

                        Plaintiff,

 v.                                             Case No. 2:21-cv-4295
 City of Philadelphia; Pete Buttigieg,
 in his official capacity as Secretary of
 Transportation,

                        Defendants.


                                     COMPLAINT
      On September 29, 2020, after a lengthy application process, the Philadelphia In-
ternational Airport certified Devault Group Inc. as a “disadvantaged business enter-
prise” (DBE) under 49 C.F.R. part 26. But on August 5, 2021, the airport reversed
course and notified Devault that it was terminating its DBE certification because it
alleged that Devault was controlled by William Hagstotz III, a white male. If Mr.
Hagstotz had instead been a member of a racial minority group, the airport would
have left Devault’s DBE certification unaffected. Devault brings suit to enjoin the
city’s racially discriminatory action.

                         JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
      2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).




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                                     PARTIES
    3.    Plaintiff Devault Group Inc. (“Devault”) is a Pennsylvania corporation with

its principal place of business located at 16 Lempa Road, Holland, Pennsylvania
18966.

    4.    Defendant City of Philadelphia is a municipality existing under the laws of
Pennsylvania. It may be served at 1400 John F. Kennedy Boulevard, Philadelphia,
Pennsylvania 19107. The city is a certification agency under the Pennsylvania Unified
Certification Program.
    5.    The City of Philadelphia owns the Philadelphia International Airport and is
legally responsible for the Airport’s discriminatory and unlawful actions. See
http://www.phl.org/about/about-us/management-team (last visited on September
29, 2021).
    6.    Defendant Pete Buttigieg is Secretary of the United States Department of
Transportation. He may be served at 1200 New Jersey Avenue SE, Washington, DC
20590.

                           STATEMENT OF FACTS
         A.    The “Disadvantaged Business Enterprise” Program
    7.    This case involves the Department of Transportation’s “disadvantaged busi-
ness enterprise” program (DBE).

    8.    The DBE program started in 1980 through a regulatory scheme issued un-
der Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et. seq. See
https://www.transportation.gov/civil-rights/disadvantaged-business-enterprise (last
visited on September 29, 2021).
    9.    Congress has reauthorized the program several times in various omnibus
transportation bills. The most recent of these bills is the “Fixing America’s Surface
Transportation Act,” also known as the ‘‘FAST-ACT,’’ Pub. L. 114-94 (Dec. 4,
2015).



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    10. The federal statutes governing the “disadvantaged business enterprise” pro-
gram require that “not less than 10 percent” of the funds made available to the DOT
“shall be expended through small business concerns owned and controlled by socially
and economically disadvantaged individuals,” “[e]xcept to the extent that the Secre-

tary determines otherwise.” Pub. L. 114-94 § 1101(b)(3).
    11. The phrase “small business concern” refers to a small business concern as
defined in section 3 of the Small Business Act (15 U.S.C. § 632). See Pub. L. 114-94
§ 1101(b)(2)(A).

    12. The phrase “owned and controlled by socially and economically disadvan-
taged individuals” is defined in 15 U.S.C. § 637(d)(3), and it refers to a business:

       (i) which is at least 51 per centum owned by one or more socially and
       economically disadvantaged individuals; or, in the case of any publicly
       owned business, at least 51 per centum of the stock of which is owned
       by one or more socially and economically disadvantaged individuals;
       and

       (ii) whose management and daily business operations are controlled by
       one or more of such individuals.
15 U.S.C. § 637(d)(3); see also Pub. L. 114-94 § 1101(b)(2)(B).
    13. Finally, the phrase “socially and economically disadvantaged individual” is
defined by statute to include “women” as well as “Black Americans, Hispanic Ameri-
cans, Native Americans, Asian Pacific Americans, and other minorities, or any other
individual found to be disadvantaged by the Administration pursuant to section 8(a)
of the Small Business Act.” See Pub. L. 114-94 § 1101(b)(2)(B); 15 U.S.C.
§ 637(d)(3).
    14. The Department of Transportation (DOT) has issued regulations for imple-
menting the “disadvantaged business enterprise” program. Those rules can be found
at 49 C.F.R. part 26.




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    15. These DBE regulations apply to every recipient of federal highway or trans-
portation funds. See 49 C.F.R. § 26.3.
    16. The DBE regulations require every recipient of DOT funding for transpor-
tation or highway projects to have a “disadvantaged business enterprise” program. See

49 C.F.R. § 26.21.
    17. The Department’s regulations describe the 10% statutory set-aside as an “as-
pirational goal at the national level, which the Department uses as a tool in evaluating
and monitoring DBEs’ opportunities to participate in DOT-assisted contracts.” 49

C.F.R. § 26.41(b).
    18. The Department’s regulations define “socially and economically disadvan-
taged individual” as follows:

       Socially and economically disadvantaged individual means any individ-
       ual who is a citizen (or lawfully admitted permanent resident) of the
       United States and who has been subjected to racial or ethnic prejudice
       or cultural bias within American society because of his or her identity
       as a members of groups and without regard to his or her individual
       qualities. The social disadvantage must stem from circumstances be-
       yond the individual’s control.

       (1) Any individual who a recipient finds to be a socially and economi-
       cally disadvantaged individual on a case-by-case basis. An individual
       must demonstrate that he or she has held himself or herself out, as a
       member of a designated group if you require it.

       (2) Any individual in the following groups, members of which are re-
       buttably presumed to be socially and economically disadvantaged:

            (i) “Black Americans,” which includes persons having origins in
            any of the Black racial groups of Africa;1

            (ii) “Hispanic Americans,” which includes persons of Mexican,
            Puerto Rican, Cuban, Dominican, Central or South American,

1. This presumably refers to those tracing ancestry to sub-Saharan Africa. The regu-
   lations to not presume individuals from North Africa to be socially or economically
   disadvantaged.


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            or other Spanish or Portuguese culture or origin, regardless of
            race;

            (iii) “Native Americans,” which includes persons who are en-
            rolled members of a federally or State recognized Indian tribe,
            Alaska Natives, or Native Hawaiians;

            (iv) “Asian-Pacific Americans,” which includes persons whose or-
            igins are from Japan, China, Taiwan, Korea, Burma (Myanmar),
            Vietnam, Laos, Cambodia (Kampuchea), Thailand, Malaysia,
            Indonesia, the Philippines, Brunei, Samoa, Guam, the U.S. Trust
            Territories of the Pacific Islands (Republic of Palau), Republic
            of the Northern Marianas Islands, Samoa, Macao, Fiji, Tonga,
            Kirbati, Tuvalu, Nauru, Federated States of Micronesia, or
            Hong Kong;

            (v) “Subcontinent Asian Americans,” which includes persons
            whose origins are from India, Pakistan, Bangladesh, Bhutan, the
            Maldives Islands, Nepal or Sri Lanka;

            (vi) Women;

            (vii) Any additional groups whose members are designated as
            socially and economically disadvantaged by the SBA, at such
            time as the SBA designation becomes effective.

       (3) Being born in a particular country does not, standing alone, mean
       that a person is necessarily a member of one of the groups listed in this
       definition.
49 C.F.R. § 26.5.
    19. Every recipient of DOT funding from the Department must participate in a
Unified Certification Program (UCP). See 49 C.F.R. § 26.81.
    20. The purpose of the Unified Certification Program is to certify firms qualify-
ing as “disadvantaged business enterprises” under federal regulations. See 49 C.F.R.
§ 26.81(b).
    21. The Department’s regulations require the Unified Certification Program to
“make all certification decisions on behalf of the” recipient of DOT funding, and the




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certification decision made by the Unified Certification Program “shall be binding on
all DOT recipients within the state.” 49 C.F.R. § 26.81(b); 49 C.F.R. § 26.81(b)(1).
    22. The Philadelphia International Airport has been designated as a Unified Cer-
tification Program. See https://bit.ly/3AQPn9a (last visited on September 29,

2021).
    23. The Department’s regulations prohibit funding recipients and Unified Cer-
tification Programs from discriminating “on the basis of race, color, sex, or national
origin.” 49 C.F.R. § 26.7 (“You must never exclude any person from participation in,

deny any person the benefits of, or otherwise discriminate against anyone in connec-
tion with the award and performance of any contract covered by this part on the basis
of race, color, sex, or national origin.”).

         B.    Devault Group Inc.’s Participation In The DBE Program
    24. Devault Group Inc. is a specialized trucking firm.
    25. Devault operates ready-mix concrete barrel trucks, which it uses to procure
and deliver ready-mix concrete to customers.
    26. Many of Devault’s customers are construction companies that work on pro-
jects funded by the Department of Transportation.
    27. Devault is owned and controlled by Melissa Hagstotz.

    28. Ms. Hagstotz is a woman, and is therefore presumed under federal law to
qualify as “a socially and economically disadvantaged individual.”
    29. In 2018, Devault applied for “disadvantaged business enterprise” certifica-
tion through the Philadelphia International Airport.
    30. The airport conducted a robust investigation evaluation of Devault to deter-
mine whether it was eligible for DBE certification, and it reviewed Devault’s financial
records, leases agreements, books and records, and contracts.




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    31. The airport also interviewed Melissa and conducted an on-site inspection of
Devault on June 23, 2020, visiting each of its three business locations: (a) 16 Lempa
Road, Holland, Pennsylvania 18966; (b) 3025 Castor Avenue, Philadelphia, Pennsyl-
vania 19134; and (c) 3301 61st Street, Philadelphia, Pennsylvania 19153.

    32. On September 29, 2020, the airport certified Devault Group Inc. as a “dis-
advantaged business enterprise” and allowed it to participate in the DBE program
under NAICS Code 236220 — Construction Management, Commercial, and Insti-
tutional Building.

    33. The airport, however, denied Devault’s request to be certified as a “disad-
vantaged business enterprise” under NAICS Code 484220 — Specialized Freight
Trucking, Local.
    34. Devault Group appealed the airport’s denial of its certification under NAICS
Code 484220.
    35. On December 3, 2020, the UCP appeals committee heard and received evi-
dence and testimony from Devault.
    36. On December 7, 2020, the appeals committee overturned the airport’s de-
cision to deny Devault Group certification under the NAICS Code 484220.

       C.     The City’s Intended Revocation Of Devault’s DBE Certification
    37. On August 5, 2021 — just eight months after Devault was certified as a “dis-
advantaged business enterprise,” the airport informed Devault that it intended to re-
voke its DBE certification. See Exhibit 1.
    38. The airport’s decision was based on an allegation of a “close relationship be-
tween Devault and Castor Materials, Inc.,” a corporation owned and controlled Ms.
Hagstotz’s father, William Hagstotz III. Id. The airport alleged that “Devault func-
tionally passes business through to Castor. Castor is DeVault’s only supplier and




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Devault is Castor’s only delivery company.” Id. It also alleged that “Devault and Cas-
tor are connected by a web of physical, financial, and operational ties — all of which
are established by substantial evidence obtained via subpoenas, surveillance, and in-
vestigative interviews.” For these and other reasons, the airport concluded that this

relationship with Castor “prevents [Melissa] Hagstotz from controlling Devault.” Id.
    39. Because Castor is owned and controlled by a white male (William Hagstotz
III), the airport intends to revoke Devault’s “disadvantaged business enterprise” cer-
tification because of Mr. Hagstotz’s race. If Mr. Hagstotz had been a member of a

racial minority group listed in 49 C.F.R. § 26.5, the airport would have left Devault’s
certification alone.
    40. Devault is suffering injury in fact from the threatened loss of its DBE status.
This injury is fairly traceable to the city of Philadelphia, which owns Philadelphia In-
ternational Airport, and the Department of Transportation, which is enforcing and
administering a racially discriminatory DBE certification program. And this injury will
be redressed by the relief that Devault is requesting from this Court.

                   Claim 1: Violation Of 42 U.S.C. § 1981
    41. The Civil Rights Act of 1866 prohibits racial discrimination in the awarding
of government contracts. See 42 U.S.C. § 1981(a) (“All persons within the jurisdiction

of the United States shall have the same right in every State and Territory to make
and enforce contracts”); 42 U.S.C. § 1981(b) (“[T]he term ‘make and enforce con-
tracts’ includes the making, performance, modification, and termination of contracts,
and the enjoyment of all benefits, privileges, terms, and conditions of the contractual
relationship.”).
    42. The city of Philadelphia is violating 42 U.S.C. § 1981 by threatening to re-
voke Devault’s DBE status because of Mr. Hagstotz’s race.




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    43. Devault asserts this claim against the city of Philadelphia under 42 U.S.C.
§ 1983 and the implied right of action established by 42 U.S.C. § 1981.
    44. The Secretary Buttigieg is violating 42 U.S.C. § 1981 by establishing, main-
taining, and using racially discriminatory criteria to govern the awarding of govern-

ment contracts.
    45. Devault brings this claim against Secretary Buttigieg under the implied right
of action established by 42 U.S.C. § 1981, as well as Larson v. Domestic & Foreign
Commerce Corp., 337 U.S. 682, 689 (1949), and the Administrative Procedure Act.

                        Claim 2: Violation Of Title VI
    46. Title VI of the Civil Rights Act of 1964 prohibits racial discrimination in any
“program or activity” that receives federal funds. See 42 U.S.C. § 2000d (“No person
in the United States shall, on the ground of race, color, or national origin, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination
under any program or activity receiving Federal financial assistance.”).
    47. The city of Philadelphia is violating Title VI by threatening to revoke
Devault’s DBE status because of Mr. Hagstotz’s race.
    48. Devault asserts this claim against the city of Philadelphia under 42 U.S.C.
§ 1983 and the implied right of action established by Title VI.

    49. The Secretary Buttigieg is violating Title VI by establishing, maintaining, and
using racially discriminatory criteria to govern the awarding of government contracts.
    50. Devault brings this claim against Secretary Buttigieg under the implied right
of action established by Title VI, as well as Larson v. Domestic & Foreign Commerce
Corp., 337 U.S. 682, 689 (1949), and the Administrative Procedure Act.

            Claim 3: Violation Of The Equal-Protection Clause
    51. The Equal Protection Clause prohibits racial discrimination by state or local
governments. See Johnson v. California, 543 U.S. 499, 510–11 (2005); Shaw v. Hunt,




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517 U.S. 899 (1996) (“Racial classifications are antithetical to the Fourteenth
Amendment, whose central purpose was to eliminate racial discrimination emanating
from official sources in the States.”); Palmore v. Sidoti, 466 U.S. 429, 432 (1984) (“A
core purpose of the Fourteenth Amendment was to do away with all governmentally

imposed discrimination based on race.”).
    52. The city of Philadelphia is violating the Equal Protection Clause by threat-
ening to revoke Devault’s DBE status because of Mr. Hagstotz’s race.
    53. Devault asserts this claim against the city of Philadelphia under 42 U.S.C.

§ 1983.

  Claim 4: Violation Of The Fifth Amendment’s Due-Process Clause
    54. The Fifth Amendment’s Due Process Clause prohibits the federal govern-
ment from discriminating on account of race. See Bolling v. Sharpe, 347 U.S. 497, 500

(1954); Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 213–214 (1995).
    55. The Secretary Buttigieg is violating the Fifth Amendment’s Due Process
clause by establishing, maintaining, and using racially discriminatory criteria to govern
the awarding of government contracts.
    56. Devault brings this claim against Secretary Buttigieg under Larson v. Domes-
tic & Foreign Commerce Corp., 337 U.S. 682, 689 (1949), and the Administrative

Procedure Act.

                            DEMAND FOR RELIEF
    57. Devault Group Inc. respectfully requests that the court:

          a.   declare that the city of Philadelphia is violating 42 U.S.C. § 1981(a),
               Title VI, and the Equal Protection Clause by threatening to revoke
               Devault’s DBE certification;

          b.   declare that the Secretary Buttigieg is violating 42 U.S.C. § 1981(a),
               Title VI, and the Equal Protection Clause by establishing, maintaining,
               and using racially discriminatory criteria to govern the awarding of gov-
               ernment contracts;




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       c.   enter a preliminary and permanent injunction that prevents the city of
            Philadelphia and the Philadelphia International Airport from revoking
            or threatening to revoke Devault’s DBE certification;

       d.   permanently enjoin Secretary Buttigieg from establishing, using, or
            maintaining racially discriminatory criteria to govern the awarding of
            government contracts;

       e.   order the city of Philadelphia to pay nominal and compensatory dam-
            ages to Devault;

       f.   award costs and attorneys’ fees under 42 U.S.C. § 1988;

       g.   award all other relief that the Court deems just, proper, or equitable.

                                           Respectfully submitted.

                                            /s/ Jonathan F. Mitchell
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Dated: September 30, 2021                  Counsel for Plaintiffs




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